




Dismissed and Memorandum Opinion filed August 28, 2008








Dismissed
and Memorandum Opinion filed August 28, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00586-CV

____________

&nbsp;

SETTER ENTERPRISES, INC., Appellant

&nbsp;

V.

&nbsp;

WORLDWIDE EXPRESS SERVICES, Appellee

&nbsp;



&nbsp;

On Appeal from the
County Civil Court at Law No. 2

Harris County,
Texas

Trial Court Cause
No. 912739

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed May 22, 2008.&nbsp; On August 15, 2008, appellant
filed a motion to dismiss the appeal.&nbsp; See Tex. R. App. P. 42.1.&nbsp; In the motion, appellant asserts the
appeal has been rendered moot because the trial court granted its motion for
new trial.&nbsp; The motion is granted.

Accordingly,
the appeal is ordered dismissed.

PER
CURIAM

Judgment rendered and Memorandum Opinion filed August
28, 2008.

Panel consists of Chief Justice Hedges and Justices
Guzman and Brown. &nbsp;





